Case 2:11-cr-20005-PKH       Document 101     Filed 01/31/12   Page 1 of 2 PageID #: 286



                 IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF ARKANSAS
                         FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                                   PLAINTIFF

 v.                      Case No. 11-20005-003 & 004

 ALEJANDRO LOPEZ-PLACENCIA, and
 RAMIRO SALAZAR-PLACENCIA                                                 DEFENDANTS


                                       ORDER

       Now   before      the   Court   is    Counsel       Robert    C.   Marquette’s

 Motion for Leave to Withdraw as Attorney of Record for Defendant

 Ramiro Salazar-Aleman (doc. 93); Counsel Marquette’s Motion for

 Leave to Withdraw as Attorney of Record for Defendant Alejandro

 Lopez-Placencia (doc. 94); Defendant Lopez-Placencia’s Motion to

 Appoint     Counsel     (doc.     90);     and    Defendant       Lopez-Placencia’s

 Motion for Leave to File Belated Appeal (doc. 100).                      Also before

 the Court is the report and recommendation filed in this case on

 January 20, 2012, by the Honorable James R. Marschewski, United

 States Magistrate Judge for the Western District of Arkansas.1

 (Doc. 99).

       The   court     has     reviewed     this    case    and,    being    well   and

 sufficiently     advised,        finds     as     follows:         The   report    and

 recommendation is proper and should be and hereby is adopted in

 its entirety.        The Court finds excusable neglect or good cause



 1
   On January 20, 2012, the Court referred pending motions (docs. 90, 93, and
 94) to the Honorable James. R. Marschewski.
Case 2:11-cr-20005-PKH    Document 101   Filed 01/31/12    Page 2 of 2 PageID #: 287



 to warrant an extension of time for Defendant Lopez-Placencia to

 file his notice of appeal.           See F.R.A.P. Rule 4(b)(4).            It is

 ordered that Defendant Lopez-Placencia be permitted to file his

 notice of appeal through and including February 3, 2012.                   It is

 further ordered that Mr. Robert Marquette is hereby appointed to

 represent Defendant Lopez-Placencia.

       Accordingly,       Counsel   Marquette’s      Motion       for   Leave    to

 Withdraw as Attorney of Record for Defendant Ramiro Salazar-

 Aleman (doc. 93) is DENIED; Counsel Marquette’s Motion for Leave

 to Withdraw as Attorney of Record for Defendant Alejandro Lopez-

 Placencia     (doc.     94)   is   DENIED;    Defendant      Lopez-Placencia’s

 Motion   to   Appoint    Counsel    (doc.    90)   is   DENIED    as   moot;   and

 Lopez-Placencia’s Motion for Leave to File Belated Appeal (doc.

 100) is GRANTED.         The Court advises that any motion to file a

 belated notice of appeal on behalf of Defendant Ramiro Salazar-

 Aleman must be filed within applicable deadlines.

       IT IS SO ORDERED this 31st day of January 2012.

                                              /s/ Robert T. Dawson
                                              Honorable Robert T. Dawson
                                              United States District Judge
